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SETTLEMENT AGREEMENT AND GENERAL RELEASE

This Settlement Agreement and General Release (“Agreement”) is entered by and between
Scott Stanislaw (“Stanislaw”), on behalf of himself, his agents, attorneys, representatives,
successors and assigns (“Stanislaw”), Elsa Kerpi, on behalf of herself, her agents, attorneys,
representatives, successors and assigns (“Kerpi”), Charles Richardson, on behalf of himself, his
agents, attorneys, representatives, successors and assigns (“Richardson”), and Cleveland Diabetes
Care, Inc., and all of its subsidiaries, affiliates, shareholders, parent corporations, partners,
members, related entities, predecessors, successors, assigns, trustees, officers, directors,
employees, agents, insurers, attomeys, servants, joint ventures and affiliated owners
(“Cleveland”). For purposes of this Agreement, KRS Global Biotechnology, Inc. (“KRS”) is
expressly excluded from the definition of “Cleveland” irrespective of whether it is a subsidiary,
affiliate or related entity of Cleveland Diabetes Care, Inc. Hereinafter, Kerpi, Richardson, and
Cleveland shall be referred to collectively as the “Non-KRS Defendants.”

WHEREAS, on March 5, 2021, Stanislaw filed a civil lawsuit claiming that KRS Global
Biotechnology, Inc. (“KRS”), and the Non-KRS Defendants owed Stanislaw overtime under the
Fair Labor Standards Act (the “FLSA”), i.e., Scott Stanislaw v, KRS Global Biotechnology, Inc.,
Cleveland Diabetes Care, Inc., Charles Richardson, M.D., and Elsa Kerpi, Case No. 9:21-CV-
80497, which is currently pending in the Southem District of Florida (the “Lawsuit”); and

WHEREAS, the Non-KRS Defendants deny any liability to Stanislaw for the claims raised
in the Lawsuit; and

WHEREAS, the Stanislaw and the Non-KRS Defendants (the “Parties”) now desire to
avoid further litigation and the costs and time associated with the Lawsuit and intend to resolve all
matters raised, threatened or which Stanislaw could have made against the Non-KRS Defendants
in the Lawsuit or otherwise.

NOW, THEREFORE, in consideration of the mutual promises set out below, the
sufficiency of which is hereby acknowledged, Stanislaw and the Non-KRS Defendants agree as
follows:

1. Consideration

In consideration for the promises and undertakings in this Agreement, the Non-KRS
Defendants shall pay Stanislaw and his attorneys the gross amount of $5,000.00 for all claims,
inclusive of damages, attorneys’ fees and/or costs as set forth below, within ten (10) business days
after Court approval of this Agreement and dismissal with prejudice of the Lawsuit as to the Non-
KRS Defendants.

a. The $5,000.00 will be paid as follows:

i. A total of $1,500.00 for back wages to Stanislaw, less taxes and

withholdings, for which a W-2 will be issued;
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il. A total of $1,500 to RX Consulting, LLC, for which a 1099 will be
issued;

iil. A check in the gross amount of $2,000.00 payable to “Bullock Legal
P.A.” for attorneys’ fees and costs incurred in representing
Stanislaw, for which a 1099 will be issued; and

IV. All of the foregoing payments shall be delivered to J ennifer Bullock
of Bullock Legal, P.A., at 3501 Griffin Road, Fort Lauderdale, FL
33312.

b. Stanislaw represents, warrants, and acknowledges that the Non-KRS Defendants do
not owe him any wages, commissions, bonuses, vacation pay, or other compensation
or payments of any kind or nature, other than as set forth in paragraphs 1(a){i) and
1(a)(ii) of this Agreement. Stanislaw further agrees and understands that the amounts
paid by the Non-KRS Defendants pursuant to this Agreement are being paid strictly
and solely for purposes of settlement of the Lawsuit.

c. Stanislaw agrees and acknowledges that the Non-KRS Defendants are paying full and
complete all sums and wages owed to Stanislaw as well as liquidated damages.
Stanislaw agrees and acknowledges that the he has not compromised or diminished
these claims in any way. Stanislaw and the Non-KRS Defendants agree that the gross
sum includes separate consideration that constitutes good, valid and sufficient
consideration for this Agreement. Stanislaw acknowledges that, upon receipt of the
payment described above, Stanislaw has been properly and fully paid for any claims
Stanislaw may have against the Non-KRS Defendants.

2. Dismissal Of Lawsuit

Within one (1) week from the complete execution of this Agreement, counsel for Stanislaw
will file a stipulation for dismissal with prejudice of the Lawsuit as to the Non-KRS Defendants.

3. Release and Covenant Not to Sue

In consideration of the promises made herein and upon full payment of sums in paragraph
1(a) of this Agreement, Stanislaw releases and forever discharges the Non-KRS Defendants from:

(a) all claims threatened, raised or which could have been raised against the Non-KRS
Defendants in the Lawsuit;

(b) all claims, actions, causes of action, demands, damages, including but not limited
to compensatory, liquidated, and punitive, costs, attorneys” fees, loss of wages and
benefits, loss of eaming capacity, mental anguish, pain and suffering, or other relief
permitted to be sought or recovered on, related to, or in any way growing out of
Stanislaw’s employment with or separation of employment by the Non-KRS

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(c) all claims based on occurrences through the date of his execution of this Agreement
arising under Title VII of the Civil Rights Act of 1964, as amended, the Age
Discrimination in Employment Act of 1967, as amended, the National Labor
Relations Act, as amended, the Equal Pay Act of 1963, the Fair Labor Standards
Act, as amended, the Americans with Disabilities Act of 1990, the Rehabilitation
Act of 1973, as amended, the Family and Medical Leave Act, 42 U.S.C. § 1981,
the Employee Retirement Income Security Act, as amended, the Vietnam Era
Veterans’ Readjustment Assistance Act of 1974, the Occupational Safety and
Health Act, the Immigration Reform and Control Act of 1986, the Older Workers’
Benefit Protection Act, and the Florida Civil Rights Act, all as the same may have
been amended from time to time, and any other Federal or State statute, order, or
regulation, and any municipal ordinance;

(d) —_allclaims arising under common law, including but not limited to breach of contract
(express or implied), intentional interference with contract, intentional infliction of
emotional distress, negligence, defamation, violation of public policy, wrongful or
retaliatory discharge, tortious interference with contract, and promissory estoppel,
on account of, or any inquiry related to or in any way growing out of, Stanislaw’s
employment with or separation of employment by the Non-KRS Defendants, or
otherwise; and

(e) any and all damages, complaints, claims, charges, actions and causes of action of
any kind or nature that Stanislaw once had or now has, whether arising out of his
employment, or otherwise, and whether such claims are now known or unknown to
him, from the beginning of the world to the date of these presents. Excepted from
this release is any claim or right which cannot be waived by law, including
unemployment compensation claims. Such is a general release from Stanislaw to
the Non-KRS Defendants, The Non-KRS Defendants acknowledge and agree
that: (i) this release expressly excludes any release of claims by Stanislaw against
KRS and (ii) any pending and/or future claims by Stanislaw against KRS are not
impacted in any way by this general release.

In exchange for Stanislaw entering into this Agreement and for the other consideration herein, the
Non-KRS Defendants release Stanislaw from any and all damages, complaints, claims, charges,
actions and causes of action of any kind or nature that the Non-KRS Defendants once had or now
have, whether arising out of Stanislaw’s employment, or otherwise, and whether such claims are
now known or unknown to the Non-KRS Defendants from the beginning of the world to the date
of these presents. Such is a general release from the Non-KRS Defendants to Stanislaw.

4, No Other Pending Suits

Stanislaw represents and affirms that he has no suits, claims, charges, complaints or demands
of any kind whatsoever currently pending against the Non-KRS Defendants with any local, state, or
federal court or any governmental, administrative, investigative, civil rights or other agency or board
and that he knows of no other person with any suits, claims, charges, complaints or demands of any

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kind whatsoever currently pending against the Non-KRS Defendants with any local, state, or federal
Court or any governmental, administrative, investigative, civil rights or other agency or board and that
he knows of no other person with any suits, claims, charges, complaints or demands of any kind
whatsoever currently pending against the Non-KRS Defendants with any local, state, or federal court
or any governmental, administrative, investigative, civil rights or other agency or board.

5. Mutual Non-Disparagement

Stanislaw agrees that he will not, in any manner whatsoever, denigrate, disparage, or
otherwise convey or cause to be conveyed an unfavorable impression of any of the Non-KRS
Defendants to a third party or parties. Each of the Non-KRS Defendants agree that they will not,
in any manner whatsoever, denigrate, disparage, or otherwise convey or cause to be conveyed an
unfavorable impression of Stanislaw to a third party or parties.

6. Non-Admission

Stanislaw and the Non-KRS Defendants agree that this Agreement does not constitute, is
not intended to be, and should not be construed, interpreted, or treated in any respect as an
admission of any liability or wrongdoing by the Non-KRS Defendants. The Non-KRS Defendants
specifically disclaim any liability.

Ts Entire Agreement

This Agreement shall be construed and enforced in accordance with the laws of the State
of Florida. Stanislaw and the Non-KRS Defendants further agree that this Agreement sets forth
the entire agreement between the parties and supersedes any written or oral understanding,
promise, or agreement directly or indirectly related to, which is not referred to and incorporated in
this Agreement. No other promises or agreements shall be binding unless made in writing and
signed by both Stanislaw and the Non-KRS Defendants.

8. Attorneys’ Fees

In the event that this is any litigation arising out of or relating to this Agreement, the
prevailing party shall recover, in addition to any other relief, reasonable attorneys’ fees, expenses
and court costs, incurred at trial and through all appellate levels.

9, Full Knowledge, Consent, And Voluntary Signing

Stanislaw agrees that he is entering into this Agreement knowingly, voluntarily, and with
full knowledge of its significance; he has not been coerced, threatened or intimidated into signing
this Agreement; and he has been advised to consult with an attorney, and in fact has consulted with
his attorney, Bullock Legal, P.A., prior to executing this Agreement.

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10. Tax Consequences

Stanislaw specifically warrants, represents, and agrees to be solely responsible for any tax
liability under any applicable federal, state, or other laws in connection with the payments made
under Paragraph 1(a) of this Agreement, and that he has conferred with counsel concerning tax
issues arising from any payment received in accordance with this Agreement. Stanislaw assumes
any and all tax consequences arising from any payment made in accordance with the terms of this
Agreement and agrees to indemnify the Non-KRS Defendants for any liability arising from any
payment received in accordance with this Agreement. Any change, modification, or alteration in
tax rulings, regulations, or laws dealing with the taxability of said payments as those provided for
herein shall have no effect upon this Agreement of all claims that is full and final upon execution
and performance.

11. Severability

To the extent that a court of competent jurisdiction holds that any portion of this Agreement
is invalid or legally unenforceable, the Parties agree that the remaining portions shall not be
affected and shall be given full force and effect.

12. Interpretation

The language of all parts of this Agreement shall in all cases be construed as a whole,
according to its fair meaning, and not strictly for or against any of the Parties. This Agreement has
been negotiated by and between attorneys for the Parties and shall not be construed against the
“drafter” of the Agreement. If any portion or provision of this Agreement is legally determined to
be unenforceable, the remainder of this Agreement shall not be affected by such determination and
shall be valid and enforceable as permitted by law, and any unenforceable portion or provision
shall be deemed not to be a part of this Agreement.

THE FOREGOING TERMS ARE AGREED TO AND ACCEPTED BY:
CLEVELAND DIABETES CARE INC.

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SCOTT STANISIAN
Date: QO), 6/29 ]

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Date: s/f 2) / 202 /

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Date: CL oS

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